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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                        PIKEVILLE

 UNITED STATES OF AMERICA,                           )
                                                     )        Criminal No. 7-cr-35-3-GFVT
         Plaintiff,                                  )   Related Civil No. 13-cv-7327-GFVT-CJS
                                                     )
 V.                                                  )
                                                     )                  ORDER
 PHILLIP G. CHAMPION,                                )
                                                     )
         Defendant.                                  )


                                         *** *** *** ***

        This matter is before the Court pending review of the Report and Recommendation of

United States Magistrate Judge Candace J. Smith [R. 420] filed on December 31, 2015.

Consistent with local practice, the Magistrate’s Report and Recommendation addresses

Champion’s writ of habeas corpus under 28 U.S.C. § 2255. Before issuing her

Recommendation, Judge Smith considered the underlying record, Champion’s § 2255 petition,

and the Government’s response. Champion requested, and was granted, an extension of time to

file a reply brief, but he ultimately failed to do so.

        Judge Smith’s Report and Recommendation concludes that Defendant Champion is not

entitled to the relief sought. Specifically, Judge Smith found Champion did not satisfy his

requisite burden of proof that his attorney provided ineffective assistance of counsel. She

determined Champion was not denied counsel at a critical stage in the proceedings, and she

found his counsel did not commit fraud on the Court. In light of her conclusions, Judge Smith

also recommended the Court deny a certificate of appealability. Judge Smith’s Recommendation

advises the parties that any objections must be filed within fourteen (14) days of service, or a
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party waives the right to further appeal. [Id. at 26.]. As of this date, neither Champion nor the

Government has filed objections or sought an extension of time to do so.

       Generally, this Court must make a de novo determination of those portions of a

recommended disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, however, this Court is not required to “review . . . a magistrate’s factual or

legal conclusions, under a de novo or any other standard . . . .” Thomas v. Arn, 474 U.S. 140,

150 (1985). Parties who fail to object to a Magistrate’s Report and Recommendation are also

barred from appealing a district court’s order adopting that Report and Recommendation. United

States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this Court has considered the

record, and it ultimately agrees with the Magistrate Judge’s Recommended Disposition.

Furthermore, the Court declines to issue a certificate of appealability. The Court determines that

reasonable jurists would not find the denial of Champion’s § 2255 motion debatable. See Slack

v. McDaniel, 529 U.S. 473, 484 (2000).

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED:

       1.      The Magistrate’s Recommended Disposition [R. 420] as to Phillip G. Champion

is ADOPTED as and for the Opinion of the Court;

       2.      Champion’s petition [R. 396] is DENIED;

       3.      A Certificate of Appealability is DENIED; and

       4.      JUDGMENT is entered in favor of the United States and Civil No. 13-cv-7327-

GFVT-CJS will be STRICKEN from the Court’s active docket.




                                                 2
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     This 2nd day of February, 2016.




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